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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

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UNITED STATES DISTRICT COURT Ir FEB 42 200

 

 

 

 

for the
Eastem District of Virginia CLAS US.E DistisT COUR
cl AiBANORIB VineRaee

 

 

Marc J. Stout

Plain tiff/Petitioner
v.

Sgt. Mischou, Lt. Bisek
Defendant/Respondent

 

Civil Action No. | - 20cul4? KPA/TERS

 

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APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. [f incarcerated, | am being held at:
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

 

2. If not incarcerated. If 1 am employed, my employer’s name and address are:

My gross pay or wages are: $ 0,00 , and my take-home pay or wages are: $ 0.00 per

(specify pay period)

 

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes @No
(b) Rent payments, interest, or dividends O Yes & No
(c) Pension, annuity, or life insurance payments O Yes @ No
(d) Disability, or worker’s compensation payments GO Yes & No
(e) Gifts, or inheritances GO Yes & No
(f) Any other sources O Yes @ No

Ifyou answered “Yes” to any question above, describe below or on separate pages each source of money and
State the amount that you received and what you expect to receive in the future.
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4. Amount of money that I have in cash or ina checking orsavingsaccount: $0 0.00 .

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):

$0

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):

$0

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

$0

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

50

Declaration: | declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: 02/09/2020 9 OSD

Applicant 's signature

Marc J. Stout

Printed name

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AN ~ fi
\\ Theresa Carroll Buchanan
WA United States Magistrate Judge

 
